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 1. 1
                                                                District Judge Tiffany M. Cartwright
 2. 2

 3. 3

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 5. 5

 6. 6
                                   UNITED STATES DISTRICT COURT
 7. 7                             WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8. 8

 9. 9
          Ramon RODRIGUEZ VAZQUEZ, et al.,                  Case No. 3:25-cv-05240-TMC
10. 10
                                Plaintiffs,                 RESPONSE TO DEFENDANTS’
11. 11                                                      MOTION TO STAY BRIEFING ON
                 v.                                         PLAINTIFF’S MOTION FOR
12. 12                                                      SUMMARY JUDGMENT
          Drew BOSTOCK, et al.,
13. 13                                                      Noting Date: June 20, 2025
                                Defendants.
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24. 24
         RESP. TO DEFS.’ MOT. TO STAY BRIEFING          NORTHWEST IMMIGRANT RIGHTS PROJECT
  25. ON PL.’S MOT. FOR SUMM. J.                                        615 Second Ave., Ste. 400
         Case No. 3:25-cv-05240-TMC                                           Seattle, WA 98104
                                                                                  (206) 957-8611
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 1. 1                                           INTRODUCTION

 2. 2           Plaintiff Ramon Rodriguez Vazquez and the Bond Denial Class (Plaintiffs) oppose

 3. 3 Defendants’ motion to stay briefing on their motion for partial summary judgment. Plaintiffs’

 4. 4 motion presents a pure legal question as to what bond detention authority applies to them—an

 5. 5 issue that Defendants motion to dismiss also raises. Nevertheless, Defendants invoke two

 6. 6 grounds for a stay: (1) the jurisdictional issues raised in their motion, and (2) the alleged

 7. 7 hardship the parties would experience if required to litigate the motion prior to discovery or a

 8. 8 scheduling conference.

 9. 9           Defendants’ proffered reasons for staying briefing are baseless and any stay will cause

10. 10 irreparable harm to Plaintiffs. First, the Court can resolve Defendants’ jurisdictional objections in

11. 11 a single ruling on Plaintiffs’ motion for summary judgment and Defendants’ motion to dismiss.

12. 12 Notably, Defendants’ arguments as to jurisdiction present straightforward legal questions that the

13. 13 Supreme Court and Ninth Circuit have directly and resoundingly foreclosed. Second, the Bond

14. 14 Denial Class’s motion for summary judgment presents a single legal question that will resolve

15. 15 the class’s claim as to all members. Defendants do not contest this assertion, nor do they deny

16. 16 the existence of their bond denial policy or its application to class members, nor point to any

17. 17 needed discovery. Indeed, while Defendants claim the “parties” will experience hardship by

18. 18 briefing Plaintiffs’ motion, they fail to present any hardship. Instead, they simply indicate their

19. 19 preference that the Court first adjudicate their motion, which they filed after Plaintiffs’ motion.

20. 20 Either way, they must still address these same legal issues. Moreover, it is Plaintiffs who would

21. 21 suffer harm if their motion is delayed, as Defendants continue to subject Plaintiffs to unlawful

22. 22 detention pursuant to their policy.

23. 23          Finally, Defendants’ claim that staying the briefing will preserve judicial resources makes

24. 24

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 1. 1 no sense. Defendants’ motion to dismiss raises the exact same legal issue regarding the

 2. 2 applicability of 8 U.S.C. § 1226(a) and § 1225(b) that Plaintiffs’ motion presents. As a result,

 3. 3 both the parties and the Court must address this issue.

 4. 4                                               ARGUMENT

 5. 5      I.   Standard of Review

 6. 6           “A court considering whether a stay is appropriate must weigh the competing interests

 7. 7 that will be affected by the requested stay.” Rivera v. Holder, 307 F.R.D. 539, 544 (W.D. Wash.

 8. 8 2015). These factors include “(1) the possible damage which may result from granting the stay;

 9. 9 (2) the hardship or inequity which a party may suffer if the suit is allowed to go forward; and (3)

10. 10 the ‘orderly course of justice,’ measured in terms of the simplifying or complicating of issues,

11. 11 proof, and questions of law which could be expected to result from a stay.” Id. (quoting CMAX,

12. 12 Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)). These factors strongly favor denying

13. 13 Defendants’ motion and proceeding to address Plaintiffs’ motion for summary judgment.

14. 14    II.   The Court Can Address Plaintiffs’ Summary Judgment Motion and Defendants’
                Motion to Dismiss in a Single Decision.
15. 15
                Defendants’ motion first asserts that a stay is appropriate because their motion to dismiss
16. 16
         raises jurisdictional objections to the Bond Denial Class’s claims. See Dkt. 48 at 3–4. These
17. 17
         jurisdictional arguments do not provide a basis to stay this case. First, the Court can resolve the
18. 18
         jurisdictional issues at the same time it addresses the merits issues. Notably, Defendants’ motion
19. 19
         raises both arguments as to jurisdiction and the merits issue of whether the Bond Denial class is
20. 20
         entitled to a bond hearing under 8 U.S.C. § 1226(a) or is subject to mandatory detention under
21. 21
         § 1225(b)(2). See Dkt. 49 at 15–30. While it is true that courts must address the threshold issue
22. 22
         of jurisdiction first, see Dkt. 48 at 4, the Court can do so in the same decision that addresses the
23. 23
         merits, as courts often do, including in this exact context. For example, in Rivera v. Holder, this
24. 24

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 1. 1 Court similarly confronted summary judgment questions of mootness and jurisdiction, and also

 2. 2 the merits question of how to construe § 1226. 307 F.R.D. at 545–58, 553. In addressing all these

 3. 3 issues, the Court rejected the defendants’ request to stay the proceedings, “find[ing] § 1226(a)

 4. 4 unambiguous.” Id at 553. Similarly, the Supreme Court has repeatedly addressed jurisdiction and

 5. 5 the merits in cases regarding immigration detention. See, e.g., Jennings v. Rodriguez, 583 U.S.

 6. 6 281 (2018) (resolving jurisdictional objections under § 1252 and merits questions regarding the

 7. 7 availability of bond hearings under § 1225 and § 1226); Demore v. Kim, 538 U.S. 510 (2003)

 8. 8 (resolving jurisdictional objection and constitutional merits question as to availability of bond

 9. 9 hearing); Zadvydas v. Davis, 533 U.S. 678 (2001) (similar). The Court should do the same here.

10. 10          Second, cursory inspection of Defendants’ jurisdictional arguments shows that binding

11. 11 Supreme Court and Ninth Circuit precedent directly foreclose these arguments. Defendants raise

12. 12 objections under 8 U.S.C. § 1252(f)(1), § 1252(b)(9), and § 1252(g). As to § 1252(f)(1), see Dkt.

13. 13 49 at 20–23, Supreme Court and Ninth Circuit precedent have repeatedly held or indicated that

14. 14 declaratory relief is available in this context. See Nielsen v. Preap, 586 U.S. 392, 402–03 (2019)

15. 15 (plurality opinion); Biden v. Texas, 597 U.S. 785, 800–01 (2022); Al Otro Lado v. Exec. Off. for

16. 16 Immigr. Rev., --- F. 4th ---, No. 22-55988, 2024 WL 5692756, at *14 (9th Cir. May 14, 2025).

17. 17 Next, the Supreme Court’s decision in Rodriguez addressed and resolved the exact same

18. 18 § 1252(b)(9) argument Defendants raise here. Compare 583 U.S. at 292–95 with Dkt. 49 at 17–

19. 19 19. Finally, Defendants point to § 1252(g), which they say applies because it bars jurisdiction

20. 20 over decisions to “commence proceedings.” Dkt. 49 at 15–16. But Rodriguez again explains why

21. 21 this is wrong, see 583 U.S. at 294, as does other Supreme Court precedent interpreting this

22. 22 “narrow” jurisdiction-stripping provision, Reno v. Am.–Arab Anti–Discrimination Comm., 525

23. 23

24. 24

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 1. 1 U.S. 471, 486 (1999).1 The Court should not stay this litigation to entertain these baseless

 2. 2 jurisdictional challenges. 2

 3. 3 III.      The Merits Presents a Question of Law that the Court Must Also Address in the
                Resolving the Motion to Dismiss.
 4. 4
                Defendants also suggest that a stay is appropriate because of “new parties” and “new
 5. 5
         facts. Dkt. 48 at 4. They also reference a need for discovery “production.” Id. Defendants do not
 6. 6
         explain what discovery would be needed nor how these developments merit staying the summary
 7. 7
         judgment briefing, but instead simply assert in conclusory fashion that they do.
 8. 8
                The salient facts remain the same and uncontested in this litigation: Defendants have a
 9. 9
         policy of applying § 1225(b)(2) to people who are not apprehended upon arrival to the United
10. 10
         States, thus depriving them of an opportunity to be considered for bond under § 1226(a).
11. 11
         Defendants did not previously contest this policy exists, nor do they contest it exists in their
12. 12
         motion to dismiss. The question as to which detention statute applies to Plaintiffs presents a pure
13. 13
         question of law that this Court can and should resolve on summary judgment. Indeed, the Court
14. 14
         must resolve that question as part of Defendants’ motion to dismiss. See Dkt. 49 at 27–30.
15. 15
         Because the Court must resolve this issue as part of Defendants’ motion to dismiss, it makes no
16. 16
         sense to stay the briefing on Plaintiffs’ motion for summary judgment, which presents the same
17. 17
         issue, see Dkt. 41 at 12–19.
18. 18
                Notably, the Ninth Circuit and this Court have repeatedly explained that cases presenting
19. 19
         a “pure question of law” can be resolved on summary judgment, even at an early stage of the
20. 20
         1 Defendants also raise a mootness challenge as to Mr. Rodriguez. Dkt. 49 at 13–14. Of course,
21. 21
       even if Mr. Rodriguez’s claims are moot, the class’s claims are not, and thus resolution of the
22. 22 mootness issue is immaterial to the Bond Denial Class’s challenge. See, e.g., Sosna v. Iowa, 419
       U.S. 393, 397–402 (1975).
23. 23 2 Plaintiffs will of course address these jurisdictional challenges in their response to the motion
       to dismiss, but they simply note here that there should be little doubt that the Court must reach
24. 24 the merits.

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 1. 1 proceedings. Swoger v. Rare Coin Wholesalers, 803 F.3d 1045, 1048 (9th Cir. 2015).

 2. 2 Specifically, where “additional factual development through discovery is unnecessary to resolve

 3. 3 the question raised in plaintiff’s motion for summary judgment,” the Court can and should

 4. 4 resolve the summary judgment motion. Homesite Ins. Co. v. Schlackman, 671 F. Supp. 3d 1205,

 5. 5 1212 (W.D. Wash. 2023).

 6. 6           Defendants’ references to new parties, facts, and discovery are a red herring. The “new

 7. 7 parties” here are not new: they are class members in this case subject to the same agency policy

 8. 8 that all class members challenge. See also Dkt. 41 at 6–10, 19–22. And the “new facts”

 9. 9 Defendants point to are agency records that show Defendants have continued to apply their bond

10. 10 denial policy to class members—something Defendants do not contest. See Dkt. 41 at 6–10. The

11. 11 other “new facts” are simply the bond evidence and records before the agency, which reflect the

12. 12 harm that class members are suffering. Id. This evidence from the agency records does not have

13. 13 any effect on the existence of Defendants’ policy or the central legal question of whether that

14. 14 policy is lawful.

15. 15          Finally, if Defendants believe a stay is warranted because of the need for “production,”

16. 16 Dkt. 49 at 4, they must explain what “essential” facts they seek in discovery and how those facts

17. 17 would preclude summary judgment. Fed. R. Civ. P. 56(d); see also, e.g., Adoma v. Univ. of

18. 18 Phoenix, Inc., 779 F. Supp. 2d 1126, 1131 (E.D. Cal. 2011) (delaying summary judgment for

19. 19 discovery appropriate only if the non-moving party “(1) . . . set[s] forth in affidavit form the

20. 20 specific facts that they hope to elicit from further discovery, (2) that the facts sought exist, and

21. 21 (3) that these sought-after facts are ‘essential’ to resist the summary judgment motion.”).

22. 22 Ultimately, here, the only salient fact is whether Defendants in fact have a policy of denying

23. 23 class members bond under § 1225(b)(2)—a fact they cannot deny. Thus, any request for a stay is

24. 24

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 1. 1 inappropriate, as Defendants cannot show that a “continuance . . . allowing additional discovery

 2. 2 would . . . preclude[] summary judgment.” Michelman v. Lincoln Nat. Life Ins. Co., 685 F.3d

 3. 3 887, 892 (9th Cir. 2012). This is particularly true here, because “[t]he burden is on the party

 4. 4 seeking additional discovery to proffer sufficient facts to show that the evidence sought exists

 5. 5 and that it would prevent summary judgment.” Nidds v. Schindler Elevator Corp., 113 F.3d 912,

 6. 6 921 (9th Cir. 1996) (internal citation omitted).

 7. 7 IV.       Denying a Stay Would Result in No Hardship to Defendants, but Staying the
                Briefing Would Produce Significant Hardship for Plaintiffs.
 8. 8
                Finally, Defendants are incorrect to assert that “proceeding with briefing the motion for
 9. 9
         summary judgment while simultaneously briefing and awaiting a ruling on the motion to dismiss
10. 10
         would cause hardship for the Parties and waste judicial resources.” Dkt. 48 at 4. Plaintiffs
11. 11
         strongly disagree with Defendants’ attempt to claim that Plaintiffs—or any party—would suffer
12. 12
         hardship here or that judicial resources will be wasted. See Dependable Highway Exp., Inc. v.
13. 13
         Navigators Ins. Co., 498 F.3d 1059, 1066 (9th Cir. 2007) (explaining that a “stay may be
14. 14
         inappropriate absent a showing by the moving party of hardship or inequity,” particularly where
15. 15
         “the stay will work damage to someone else” (citation modified)).
16. 16
                First, there is no hardship and judicial resources wasted where the parties already have to
17. 17
         brief the same issues that Defendants’ motion to dismiss presents. Compare Dkt. 41 at 12–19
18. 18
         with Dkt. 49 at 27–30. As noted above, both the motion to dismiss and Plaintiffs’ motion for
19. 19
         summary judgment address the merits of whether the Bond Denial Class is entitled to summary
20. 20
         judgment.
21. 21
                Second, as explained in Plaintiffs’ motion, class members are currently experiencing
22. 22
         unlawful detention because the only basis for their detention is § 1225(b)(2). Specifically,
23. 23
         agency records show that immigration judges in Tacoma are denying individuals release based
24. 24

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 1. 1 solely on § 1225(b)(2), while simultaneously setting a bond amount that would apply if

 2. 2 § 1225(b)(2) did not mandate detention. See Dkts. 34-6, 42-5, 42-9, 42-11. But for that

 3. 3 conclusion, they would be free, living with their families, caring for their siblings and children,

 4. 4 and participating once again in the communities that strongly support their release. See generally

 5. 5 Dkt. 41 at 6–10, 22–23. Thus, if the Court grants Defendants’ request for a stay, Plaintiffs will be

 6. 6 subject to months of additional detention while the parties first brief the motion to dismiss and

 7. 7 later brief the motion for summary judgment. 3

 8. 8                                              CONCLUSION

 9. 9           For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendants’

10. 10 motion. Moreover, consistent with the local rules, the Court should not grant Defendants any

11. 11 additional time to respond to Plaintiffs’ motion, much less 21 days. See LCR 7(j) (“Parties

12. 12 should not assume that the motion [for relief from a deadline] will be granted and must comply

13. 13 with the existing deadline unless the court orders otherwise.”). The Court should not reward

14. 14 Defendants’ dilatory tactics, particularly where Supreme Court and Ninth Circuit precedent

15. 15 directly forecloses their jurisdictional arguments and their motion already requires addressing the

16. 16 merits issue they seek to have stayed.

17. 17
         Respectfully submitted this 9th of June, 2025.
18. 18
       s/ Matt Adams                                     s/ Leila Kang
19. 19 Matt Adams, WSBA No. 28287                        Leila Kang, WSBA No. 48048
       matt@nwirp.org                                    leila@nwirp.org
20. 20
       s/ Glenda M. Aldana Madrid                        s/ Aaron Korthuis
21. 21 Glenda M. Aldana Madrid, WSBA No. 46987 Aaron Korthuis, WSBA No. 53974
       glenda@nwirp.org                                  aaron@nwirp.org
22. 22
       3 The prospect of such prolonged detention is precisely what causes people like Mr. Rodriguez to

23. 23 give up their cases. After Mr. Rodriguez was denied bond and ordered removed, he declined to
       remain subject to detention for many additional months while he appealed his custody and merits
24. 24 proceedings. See Dkt. 49 at 10–11.

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      Counsel for Plaintiff and the Certified Classes
 5. 5

 6. 6
                                       WORD COUNT CERTIFICATION
 7. 7
                  I certify that this memorandum contains 2,223 words, in compliance with the Local Civil
 8. 8
         Rules.
 9. 9

10. 10                                                s/ Aaron Korthuis
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